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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                             CIVIL ACTION
       v.
                                             FILE NO. 1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


 STATE DEFENDANTS’ NOTICE OF FILING EMAIL REGARDING
“CRITICAL DECISIONS ON UPCOMING MUNICIPAL ELECTIONS”

      During the February 2, 2022 teleconference, the Court requested

counsel provide a copy of the email communication distributed to county

election officials disseminating Dr. Halderman’s rebuttal declaration. That

communication is attached hereto as Exhibit A. As of at least January 28,

2022, all the links referenced in that email remained live. That appears to no

longer be the case. However, the “highly summarized report” remains

available elsewhere following its dissemination. See, e.g., Jose Pagliery,

Judge Seals Report on Voting Machine Vulnerability, The Daily Beast (Aug.

13, 2021 4:28 AM ET), https://www.thedailybeast.com/judge-seals-report-on-

voting-machine-vulnerability?ref=scroll (quoting and linking Dr.

Halderman’s Aug. 2, 2021 rebuttal declaration).
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Respectfully submitted this 2nd day of February 2022.

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                       L.R. 7.1(D) CERTIFICATION

     I certify that this Notice of Filing has been prepared with one of the font

and point selections approved by the Court in Local Rule 5.1(C). Specifically,

this Response has been prepared using 13-pt Century Schoolbook font.



                             /s/ Carey Miller
                             Carey A. Miller
